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                           APPENDIX 2 (b)


               Indigent Defendants Legal Panel


  PLAN OF THE ASSOCIATION OF THE BAR OF THE CITY
   OF NEW YORK, BRONX COUNTY BAR ASSOCIATION,
   BROOKLYN BAR ASSOCIATION, NEW YORK COUNTY
      LAWYERS' ASSOCIATION, QUEENS COUNTY BAR
       ASSOCIATION AND RICHMOND COUNTY BAR
                    ASSOCIATION


           Adopted Pursuant to Article 18-B of the County Law




  Approved by the Judicial Conference of the State of New York, April 23, 1966




          Published by the Administrator of the First Department Plan




                              JANUARY 1, 1967




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1986-87]             CRIMINAL DEFENSE OF THE POOR

     Pursuant to the provisions of Article 18-B of the County Law (Ch. 878 of
the Laws of 1963, approved July 16, 1963), The Association of the Bar of the
City of New York, Bronx County Bar Association, Brooklyn Bar Association,
New York County Lawyers' Association, Queens County Bar Association and
Richmond County Bar Association hereby propose the following Plan for the
adequate representation of persons charged with a crime as defined in Section
722-a of the County Law, who are financially unable to obtain counsel, and for
the furnishing of investigative, expert and other services, as provided in Sec-
tion 722-c thereof.
     As provided in subparagraph (4) of Section 722 of the County Law this
Plan combines representation by a private legal aid society and by private at-
torneys, the services of the latter being rotated (so far as practicable and feasi-
ble) and coordinated by an administrator.
     The Legal Aid Society of The City of New York (Legal Aid Society) will
be designated as the private legal aid society and The Association of the Bar of
the City of New York and the five county bar associations within The City of
New York will be designated as the bar associations which may prepare panels
of attorneys to be rotated as above and coordinated by an administrator (Ad-
ministrator) or administrators (Administrators).

                         I.   THE LEGAL AID SOCIETY
     Under this Plan, whenever a determination has been made by a court that
a defendant is entitled to representation under Article 18-B of the County
Law, the court shall designate and appoint the Attorney-in-Charge of the
Criminal Courts Branch of the Legal Aid Society as the attorney of record for
the defendant in all cases, unless:
     (1) the court deems the assignment of other counsel to be required
     in the interest ofjustice because of either a conflict of interest or any
     other good cause, in which event the court shall appoint counsel to
     be designated by the appropriate Administrator from the appropri-
     ate panel as hereinafter provided: or
     (2) the defendant in the case is charged with a crime punishable by
     death or life imprisonment, in which event application shall forth-
     with be made in the Supreme Court for the assignemnt of counsel,
     and in any such case the Supreme Court may, in its discretion name,
     assign and appoint one or more of the attorneys listed in the panel of
     trial attorneys available for service in the Supreme Court in the
     County.

                          II. PANEL OF ATTORNEYS
      Each bar association shall prepare and certify to the appropriate Admin-
istrator not later than June 30, 1966, a list of attorneys who are admitted to
practice in the State of New York and who, in the opinion of the bar associa-




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  tion, which shall consider their experience in criminal practice, are competent
 to give adequate representation to defendants under Article 18-B of the
  County Law. Such list shall include each attorney's name and address and
 telephone number, and shall be supplemented by a compilation consisting of a
 copy of the application, on the form attached hereto as Exhibit A, of each
 attorney listed.
        1. Each attorney whose name is listed shall be designated by the bar
 association as available for service in either the Supreme Court or the Crimi-
 nal Court or both; but his name shall not be listed at all unless he is designated
 as available for service in that court or both courts, as the case may be, in
 which in his application, as above mentioned, he has expressed his willingness
 to serve.
       2. In the event that an attorney is not designated as available for the
 service he has expressed his willingness to render and accordingly his name is
 not listed, both the fact that he has made application and the contents of such
 application shall be kept and deemed in all respects private and confidential
 and shall not be disclosed except upon the written request of the applicant.
       3. It shall not be regarded as an obligation of an attorney to express
 willingness to serve in the Supreme Court, even though he is fully qualified
 and competent to serve, should he prefer to restrict his service as assigned
 counsel to cases in the Criminal Court; nor shall it be regarded an obligation
 of an attorney to serve as assigned counsel in the Criminal Court should he
 prefer to restrict his service to the Supreme Court, provided, however, that an
 application for designation for service only in the Supreme Court must be
 deemed to include a consent to serve in the Criminal Court to the extent of
 representing a defendant at arraignments and at hearings to determine
 whether such defendant should be held for action by the Grand Jury, when
 such defendant is charged with a felony for which an indictment may be found
 and returned in the Supreme Court.
       4. No attorney shall be designated by a bar association as available for
 service as trial counsel in the Supreme Court unless he shall have been at the
 Bar for a minimum of seven years and shall have had substantial experience in
 the trial of criminal cases, provided, however, that in exceptional circum-
 stances when in the opinion of a bar association an attorney is especially well
 qualified by reason of demonstrated ability and experience the bar association
 may waive th requirment of the minimum of seven years at the Bar. In addi-
 tion to or instead of designation of availability as trial counsel, an attorney
 may be designated as available for service on appeals in criminal cases.
       5. Additions to and deletions from the panel or panels of attorneys, pre-
 pared as provided in Article III hereof, may be made from time to time by the
 bar assocition which submitted the original list and in accordance with the
 same principles observed by the bar association in initially certifying the list of
 attorneys to the Administrator or Administrators. In addition, the appropri-




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 ate Appellate Division may at any time make additions to or deletions from
 any bar association panel.
      6. In order to permit all members of the bar in The City of New York to
 render service in their capacity as officers of the courts and in keeping with the
 high traditions of the legal profession, each bar assocition shall, in addition to
 recruiting the services of its own members, endeavor to enlist the services of
 any lawyer not a member of any of the County or City bar associations who is
 qualified to render service under Article 18-B of the County Law.

              III. THE ADMIISTRATOR OR ADMINISTRATORS
      1. In their discretion the Appellate Divisions of the First and Second
 Judicial Departments shall together appoint one Administrator for both De-
 partments, or they each shall appoint an Administrator for their respective
 Departments. His or their salaries and administrative expenses, including sal-
 aries of assistants and clerical personnel to be appointed as required, shall be
 paid by The City of New York.
      2. Upon receipt of the lists of attorneys certified by the bar associations
 pursuant to Article II hereof, the Administrator or Administrators shall pre-
 pare two panels of trial attorneys for each county from the lists provided by
 the bar associations, one panel for Supreme Court cases and one panel for
 Criminal Court cases. No attorney may be placed on the panels of more than
 one county. The Administrator or Administrators shall similarly prepare
 panels for appeals to the Appellate Terms and Appellate Divisions, First and
 Second Departments. No attorney may be placed on the appellate panels of
 more than one Department; but an attorney may be on both the trial panels of
 a county and the appellate panels of a Department.
      3. The Administrator or Administrators shall prepare all panels in the
 following fashion: the names for each of the panels shall be drawn by lot and
 placed in the order drawn on a list, copies of which should then be available
 for distribution as provided by the appropriate Appellate Division. All assign-
 ments shall be rotated on each panel by the Administrator or Administrators
 in accordance with the listing of the panel until an attorney is reached who is
 available for service. Whenever the Supreme Court has exercised its discretion
 to appoint an attorney or attorneys from the Supreme Court panel in a case
 involving a crime punishable by death or life imprisonment (as provided in
 Article I and in paragraph Al of Article IV hereof) and such attorney's name
 has not previously been reached in order on the list, such attorney shall there-
 after be treated as if his name had been reached in regular rotational order.
 The Administrator or Administrators ahll maintain adequate records which
 will demonstrate compliance with a rotational procedure.




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                       IV.   APPOINTMENT OF COUNSEL

 A.   Appointments from trial panels.
       1. After a determination by the court that a defendant or prospective
 defendant is entitled to representation under Article 18-B of the County Law
 and that the Legal Aid Society should not furnish counsel for any of the rea-
 sons set forth in Article I hereof, the court shall make an initial determination
 whether or not the case is such that the attorney to be appointed at that time
 should come from the Supereme Court panel or the Criminal Court panel, and
 shall so notify the appropriate Administrator. In the event that a case in-
 volves a crime punishable by death or life imprisonment, the Supreme Court
 may, in its discretion, request the appropriate Administrator to designate for
 appointment, without regard for rotation, one or more attorneys named by the
 Court who are listed on the Supreme Court panel to the extent such procedure
 is permitted by law. In cases where the court determines that justice requires
 the immediate presence of counsel, and counsel from the panel is not immedi-
 ately available, the court may appoint other counsel, who shall not be compen-
 sated under this Plan, to advise the defendant until counsel from the panel can
 be assigned.
      2. The appropriate Administrator shall designate an attorney from the
 appropriate county panel in accordance with the procedures set forth in para-
 graph 3 of Article III hereof. All designations of counsel by such Administra-
 tor shall be promptly reported to the clerk of the appropriate court and such
 counsel must be assigned by the court.
      3. In cases involving more than one defendant, one or more attorneys
 may be appointed, as herein provided, to represent all defendants, but where
 circumstances warrant, such as conflicting interests of respective defendants,
 separate counsel shall be appointed, as herein provided, for each of the defend-
 ants or any one of them.
      4. No defendant accepting representation under Article 18-B of the
 County Law shall be permitted to select his own counsel from the panel of
 attorneys.
      5. Subject to paragraph B of this Article IV, whenever counsel has been
 appointed by the court such counsel shall continue to act for the defendant
 throughout the proceedings in the trial court and through appeal, unless or
 until he is relieved by the appellate court.

 B.   Duration and substitution of appointments.
      1. As provided in Section 722 of the County Law, a defendant for
 whom counsel is appointed hereunder shall be represented at every stage of
 the proceedings, from his initial appearance before the judge or justice through
 appeal. If at any time after the appointment of counsel the court finds that the
 defendant is financially able to obtain counsel or to make partial payment for
 his representation, the court may terminate the appointment of counsel or it




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may direct that payment be made to the appointed private counsel or to the
City of New York, as authorized by Section 722-d of the County Law. Such
payments shall be strictly controlled by the court, to the end that payments to
appointed private counsel shall not exceed the maximum permitted by Section
722-b of the County Law.
     2. The court may, in the interests of justice, substitute one appointed
counsel from the panel for another, designated by the appropriate Administra-
tor as herein provided, at any stage of the proceedings. Whenever an attorney
who is not on the Supreme Court panel has been appointed by the Criminal
Court to a case which results in an indictment, such attorney must withdraw
from the case as soon as practicable and an attorney from the Supreme Court
panel, whose name has been obtained and furnished by the appropriate Ad-
ministrator as hereinabove provided, should be substituted by the Supreme
Court. Whenever justice requires, however, the Supreme Court may appoint
the original attorney to serve as co-counsel with the new attorney. In no event
shall the total compensation to all appointed private counsel exceed the maxi-
mum permitted by Section 722-b of the County Law. Appointed counsel re-
placed by such substitution shall await the final disposition of the case before
submitting his claim for compensation as prescribed hereinafter.
     3. No counsel appointed hereunder shall seek or accept any fee for rep-
resenting the defendant for whom he is appointed without approval of the
court as hereinabove provided. If there should come to the knowledge of such
counsel any information indicting that the defendant or someone on his behalf
can make payment in whole or in part for legal services, it shall be his duty to
report such information promptly to the court, so that appropriate action may
be taken hereunder.

C. Appointments from appellate panels.
      1. After the appellate court has made a determination that a defendant
is entitled to representation under Article 18-B of the County Law and that
the Legal Aid Society should not furnish counsel for any of the reasons de-
tailed in Article I hereof, the appointment shall be made in the same manner
as that prescribed in paragraph A of this Article IV. Counsel representing the
defendant in the trial court shall, in appropriate cases and if a member of the
appropriate appellate panel, be appointed by the appellate court to continue
on appeal. The appointment of counsel on appeal shall be made within a rea-
sonable time after the notice of appeal filed.
      2. In appealed cases involving more than one defendant, one or more
attorneys may be appointed to represent all appellants, but where circum-
stances warrant such as conflicting interests of respective appellants separate
counsel shall be appointed for each of the appellants or any one of them.
      3. The appellate court may, at any point in the appellate proceedings,
substitute one appointed counsel from the panel for another, designated by the




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 appropriate Administrator as herein provided, in the same manner and under
 the same conditions as provided for in paragraph B of this Article IV.
      4. No defendant accepting representation under Article 18-B of the
 County Law shall be permitted to select his own counsel from the panel of
 attorneys.

                     V.    SERVICES OTHER THAN COUNSEL

      Counsel (whether or not appointed under this Plan), other than the Legal
 Aid Society, for a defendant who is financially unable to obtain investigative,
 expert, or other services necessary to an adequate defense in his case may
 request such services in an ex parte proceeding before a court. If, after appro-
 priate inquiry, the court shall find that the services are necessary and that the
 defendant is financially unable to obtain them, it shall authorize defendant's
 counsel to obtain such services. Any such proceedings incident to the afore-
 said inquiry shall remain privilieged and unavailable to the prosecution until
 the trial shall have been concluded. If the court should find that timely pro-
 curement of such services could not await prior authoriation, it may, in the
 interests of justice, ratify such services after they have been obtained, if it shall
 find that the defendnat is financially unable to pay for them.

        VI.   PAYMENT OF COUNSEL FEES AND FOR OTHER SERVICES
        1. A private attorney appointed pursuant to this Plan shall be compen-
  sated upon the submission of his claim in accordance with the rules, regula-
  tions and forms promulgated by the Comptroller of the City of New York,
  and supported by a written statement in substantially the form attached hereto
  as Exhibit B, specifying the time expended, services rendered, expenses reason-
  ably incurred and reimbursement or compensation applied for or received in
  the same case from any other source, while the case was pending in the court.
  Claims for expenses incurred for services under Article V hereof shall be sup-
  ported by a sworn statement in substantially the form attached hereto as Ex-
  hibit C. Expenses reasonably incurred are limited to out-of-pocket expenses
  and shall not include any allocations for general officer overhead, such as rent,
  local telephone services or secretarial help. For representation on appeal,
  compensation and reimbursement shall be fixed by the appellate court. For all
  other representation, compensation and reimbursement shall be fixed by the
  court where judgment of conviction or acquittal or order of dismissal was en-
  tered. Unless good cause is shown, claims for attorney's fee, expenses and
  services shall be submitted to the court within 45 days after the court has
  finally disposed of the case.
        2. Except as authorized or directed by the court, no appointed attorney
  furnishing representation under Article 18-B of the County Law shall seek or
  accept any payment or promise of payment from a defendant or on his behalf
  for his representation of said defendant or for reimbursement of any expenses
  incurred.




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     3. The clerk of the particular court shall forthwith forward all approved
statements to the appropriate Administrator who shall then forward them to
the comptroller of the City of New York for payment; provided that an appli-
cation which is approved in an amount in excess of the limits provided in
Section 722-b of the County Law because of extraordinary circumstances, and
in order to provide for compensation for protected representation, shall be
forwarded by the clerk to the Presiding Justice of the appropriate Appellate
Division for his approval, dissapproval or modification prior to being for-
warded to such Administrator.

                                VII.   Formis
     In the event that forms are prepared and furnished by the Comptroller of
the City of New York, they shall be used, where applicable, in all proceedings
under this Plan. Any revisions of said forms or any additional forms that may
be prescribed by the Comptroller of the City of New York shall likewise be
used, where applicable, in all proceedings under this Plan.

                        VIII.   RULES AND REPORTS

     The Appellate Divisions of the First and Second Judicial Departments
may promulgate such rules with respect to this Plan as they may deem neces-
sary and the Administrative Board of the Judicial Conference may require
such records to be kept by the Administrator or Administrators as will reflect
the operation of the Plan.




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                             APPENDIX 2(c)

                                  AGREEMENT
       This agreement made September 6, 1966 between the City of New York,
  hereinafter referred to as the City, acting by and through the Office of the
  Mayor, The Legal Aid Society, hereinafter referred to as the Society,

      WITNESSETH:
       WHEREAS the City has been vitally concerned with the necessity of as-
  suring to all indigent defendants the assistance of counsel as a fundamental
  right essential to a fair trial; and
       WHEREAS the City has been equally concerned with the necessity of
  assuring to all persons needing a lawyer's help and unable to pay for it the
  assistance of counsel, and to that end the City acting pursuant to County Law
  section 224(10) has in the past contributed to the costs of operation of the
  Legal Aid Society in civil and criminal matters; and
       WHEREAS Article 18-B of the County Law (§§ 722-722-e added by
  Chapter 878 of the Laws of 1965 as amended by Chapter 761 of the Laws of
   1966) requires the City to place in operation a plan for providing counsel to
  persons within the City of New York charged with a crime (as defined in
  County Law § 772-a) who are financially unable to obtain counsel within the
  meaning of County Law § 722; and
        WHEREAS the Society is a membership corporation duly organized and
  authorized under the laws of the State of New York to serve as and perform
  the functions of a legal aid society in each of the five counties within the City
  of New York, wherein the Society is presently actively engaged in rendering
  such services and performing such functions; and
        WHEREAS the Society has by communication dated October 28, 1965
  submitted to the City a plan which sets forth the readiness and willingness of
  the Society to undertake the responsibility of providing counsel for persons
  who have been charged with a crime and lack financial resources to obtain
  such counsel; and
        WHEREAS the City has by Executive Order No. 178, dated November
  27, 1965, adopted a plan which designates the Society to furnish such counsel
  in all cases except whereby reason of conflict of interest or for other appropri-
  ate reasons the Society declines to represent a defendant; and
        WHEREAS the City has contributed to the Society $300,000 as a contri-
  bution to its increased costs in performing services required by Article 18-B of
  the County Law during the period December 1, 1965, to and including June
  30, 1966, and has appropriated funds for a contribution to the Society during
  the City's fiscal year commencing July 1, 1966, in accordance with an agree-
  ment to be entered into by the Society and the City;




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      NOW; therefore the parties hereto have agreed:
      FIRST: The Society shall employ and provide for the services of attor-
 neys and counselors at law, with appropriate clerical and investigative assist-
 ance in sufficient numbers to undertake, except as provided in paragraph
 "SECOND", the defense of all persons charged with a crime as defined in
 County Law § 722-a in the Courts of New York within the City of New York
 who are financially unable to obtain counsel. The Society will also provide
 expert services and all other services necessary for the defense of these cases.
 All such persons shall be employees of the Society, which shall alone be re-
 sponsible for their work, and the direction thereof and their compensation.
 Nothing included in this agreement shall impose any liability or duty on the
 City to any person, firm or corporation engaged by the Society as expert, con-
 sultant, independent contractor, trainee, employee, servant or agent, nor shall
 the City be liable for the acts, omissions, liabilities or obligations of any such
 person, firm or corporation, or for taxes of any nature including but not lim-
 ited to unemployment insurance, workmen's compensation, or social security.
       SECOND: The Society shall not be required to furnish such representa-
 tion in any case in which a determination has been made by a court that the
 Society is unable to furnish counsel because of a conflict of interest, or where
 in a case involving a crime punishable by death or life imprisonment, a court
 shall determine, in its discretion, that a defendant be represented by counsel
 furnished pursuant to the joint plan, as amended, of the Association of the Bar
 of the City of New York, Bronx County Bar Association, Brooklyn Bar Asso-
 ciation, New York County Lawyers' Association, Queens County Bar Associ-
 ation and Richmond County Bar Association, said amended plan having been
 approved by the Judicial Conference by letter dated April 28, 1966.
       THIRD: Staff attorneys of the Society's Criminal Courts Branch will be
 regularly assigned to all criminal parts of the Supreme Court in the first, sec-
 ond and eleventh judicial districts, and to all parts of the Criminal Court of
 the City of New York in which there is a substantial and regular need for their
 services, in sufficient numbers to meet promptly requests for their assistance in
 cases for which representation is required.
       FOURTH: The Society will represent every defendant for whom its rep-
 resentation is required by this agreement at every stage of the proceeding from
 his initial appearance before a judge or justice through appeal and in post-
 appellate proceedings instituted in courts located in the City of New York,
 such as, but not limited to corm nobis and habeas corpus. It will, on request
 of an appellate court, also assure the availability of an appellate remedy for
 other eligible appellants in criminal cases originating within the City.
       FIFTH: The Society will, during the terms of this contract and any fu-
 ture renewals thereof, at regular intervals, at least quarter-annually, and from
 time to time in addition thereto as may be requested by the Mayor of the City
 of New York, or by the Presiding Justice of either the Appellate Division,
 First Department, or the Appellate Division, Second Department, submit re-




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  ports to the Mayor and the respective Departmental Directors of Administra-
  tion of the First and Second Judicial Departments concerning its operation
  hereunder. Such reports shall furnish such pertinent information concerning
  the Society's representation of indigent defendants, its fiscal operation and sta-
  tistical records as may be required by the Mayor or the Departmental Direc-
  tors of Administration.
         SIXTH: The City, in consideration of the services to be rendered by the
  Society during the period from July 1, 1966 up to and including June 30, 1967,
  will pay the Society the sum of One million and no/100 ($1,000,000) Dollars,
  in four equal installments. Such payments are subject to audit and revision by
  the Comptroller in accordance with the provisions of Administrative Code
   § 93d-1.0. The first payment in the sum of Two hundred fifty thousand and
  no/100 ($250,000) Dollars shall be made on July 15, 1966; the second, third
  and fourth payments of an equal sum on October 15, 1966; January 15, 1967
  and April 15, 1967. Future contributions by the City to the Society during the
  life of this agreement shall be determined upon the basis of written application
  by the Society made on or before December 1 of each year to the dsirector of
  the budget and such other officers as the City may request, including full infor-
  mation on the Society's expense budget for the following calendar year, the
  size of the Society's legal and clerical staff and its staff salaries, and such other
  information as the City may require.
         SEVENTH: The Society agrees that it will, in accordance with any
  guidelines establshed by the City, as approved by the Presiding Justices of the
  Appellate Division, First Department and Second Department conduct an in-
  vestigation so as to ascertain the financial ability of a defendant to retain pri-
  vate counsel or to make partial payments for representation or other services,
  which investigation shall include but not be limited to obtaining the comple-
  tion of a financial questionaire, and shall thereafter make any report required
  by County Law § 722-d.
         EIGHTH: It is understood and agreed by the parties hereto that no serv-
  ices to be rendered pursuant to, or in connection with this agreement, may be
  refused to any person because of his race, color or creed, country of origin, or
  political belief, and no persons shall be denied employment by the Society in
  violation of laws against discrimination in employment.
         NINTH: The undersigned, as an officer of the Society expressly warrnats
   and represents that neither he nor any member, partner, director or officer of
   the Society, has, prior to the date of execution of this contract, been called
  before a Grand Jury to testify concerning any transaction or contract had with
   the State of New York, any political subdivision thereof, a public authority or
   with any public department, agency or official of the State of New York or of
   any political subdivision thereof, or of a public authority, or of any fire dis-
   trict, and refused to sign a waiver of immunity against subsequent criminal
   prosecution or to answer any relevant question concerning such transaction or
   contract.




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     TENTH: In accordance with the provisions of sections 103 (a) and
103(b) of the General Municipal Law, as added by Chapter 605 of the Laws of
1950, as amended:
      Upon refusal of the person or persons executing this contract for the Soci-
ety or any other person who is a member, partner, officer or director of the
Society, when called before a grand jury to testify concerning any transaction
or contract had with the State of New York, any political subdivision thereof,
a public authority, or with any public department, agency or official of the
State of New York or of any political subdivision thereof, or of a public au-
thority, or of any fire district, to sign a waiver of immunity against subsequent
criminal prosecution or to answer any relevant question concerning such
transaction or contract:
      (a) the said person or persons and any firm, partnership or corporation
of which he is or they are a member, partner, director or officer shall be dis-
qualified from thereafter selling to or submitting bids to or receiving awards
from or entering into any contracts with any municipal corporation or fire
district or any public department, agency or official thereof, for goods, work or
services, for a period of five (5) years after such refusal and
      (b) this contract and any and all other contracts made with any munici-
pal corporation or any public department, agency or official thereof, or with
any fire district or any agency or official thereof, by the said person or persons
and by any firm, partnership or corporation of which he is or they are a mem-
ber, partner, director or officer, may be cancelled or terminated by the munici-
pal corporation or fire district without incurring any penalty or damages on
account of such cancellation or termination, but any monies owing by the
municipal corporation or fire district for goods delivered or work done prior to
the cancellation or termination, shall be paid.
      ELEVENTH: This agreement may be terminated by the City, acting by
exceutive order of the Mayor, or by the Society, by service by certified mail of
a notice of termination effective ninety (90) days after such service. A copy of
such notice shall be sent to the Presiding Justice of the Appellate Divisions,
First Department and Second Department. Any notice served by the Society
shall be directed to the Mayor of the City of New York. The Society agrees
that upon receipt of notice of termination pursuant to this paragraph or upon
termination of this contract:
       (a) It shall not incur any further obligations pursuant to this contract
beyond the termination date. In no instance shall the City be liable for reim-
bursement for services to be rendered or expenses extending beyond the con-
 tract termination date, nor will the City be obligated to reimburse the
 Contractor for payment of salaries to employees of the Contractor for services
 rendered after the date of termination.
       (b) It shall account for and refund to the City any unexpended and un-
 committed funds which have been paid to it in accordance with this contract.
       TWELFTH: The Society shall indemnify and hold harmless the City and




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  its officers, agents and employees from all claims, demands, causes of action,
  and judgments arising out of injuries or damage to person and property of
  whatsoever kind or nature as a result of the furnishing of the services provided
  for in this agreement.
        THIRTEENTH: This agreement may not be assigned.
        FOURTEENTH: This agreement shall become effective as of July 1,
  1966, and shall continue in effect until terminated by either party as provided
  in paragraph ELEVENTH above, and provided the City has appropriated
  funds therefore.
        IN WITNESS WHEREOF the parties hereto have duly executed this
  agreement the day and year first above written.

                                    THE CITY OF NEW YORK

                                    By_


                                    THE LEGAL AID SOCIETY

                                    By_
                                                        President


  Approved as to form:

  J. Lee Rankin
     Corporation Counsel




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